               Case 23-11131-TMH   Doc 553-2   Filed 10/16/23   Page 1 of 5




                             EXHIBIT 2
                             Bid Procedures Notice




DOCS_DE:243863.9 03703/003
                Case 23-11131-TMH               Doc 553-2        Filed 10/16/23         Page 2 of 5




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                     Debtors.1                           (Jointly Administered)


    NOTICE OF PROPOSED SALE OR SALES OF THE DEBTORS’ BRAND ASSETS,
       FREE AND CLEAR OF ALL ENCUMBRANCES, OTHER THAN ASSUMED
    LIABILITIES, AND SCHEDULING FINAL SALE HEARING RELATED THERETO

PLEASE TAKE NOTICE OF THE FOLLOWING:

         On September 18, 2023, the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) filed a motion (the “Motion”) with the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) seeking entry of (i) an order (the “Bid
Procedures Order”) (a) approving bid procedures for the sale or sales (the “Sale”) of the Debtors’
assets associated with their Operating Consumer Brands2 (the “Brand Assets”), (b) scheduling the
Auction and Sale Hearing,3 and (c) granting related relief (clauses (a) through (c), collectively, the
“Bid Procedures Relief'”), and (ii) an order (the “Sale Order”) (a) authorizing the Sale(s) of the
Brand Assets free and clear of all Encumbrances (as defined in the Motion), other than assumed
liabilities, to the Successful Bidder(s) submitting the highest or otherwise best bid, (b) authorizing
the assumption and assignment of the identified executory contracts and unexpired leases (the
“Transferred Contracts”), and (c) granting certain related relief.




1    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
     100, Emeryville, CA 94608.
2    The “Operating Consumer Brands” consist of Biossance®, JVN™, Rose Inc.™, Pipette®, MenoLabs™, Stripes™,
     and 4U by Tia™. Terasana®, Eco-Fabulous™, Costa Brazil®, OLIKA™, Beauty Labs, Purecane™, and Onda
     Beauty (the “Non-Operating Consumer Brands”) are subject to the procedures set forth in the Order (I)
     Establishing Procedures Governing the Sale or Transfer of Certain De Minimis Assets and Non-Operating
     Brands, and (II) Granting Related Relief [Docket No. 205] (the “Non-Operating Brand Procedures Order”);
     provided, however, that the Debtors reserve the right to include any Non-Operating Consumer Brand in these Bid
     Procedures after consultation with the Consultation Parties.
3    Capitalized terms used but not defined herein shall have the meaning ascribed to it in the Bid Procedures and Bid
     Procedures Order, as applicable.



DOCS_DE:243863.9 03703/003
               Case 23-11131-TMH       Doc 553-2      Filed 10/16/23     Page 3 of 5




I.      Bid Procedures and Stalking Horse Bidder

       On [●], 2023, the Bankruptcy Court entered the Bid Procedures Order [Docket No. ●],
thereby approving the Bid Procedures Relief and the Debtors’ ability, in accordance with the Bid
Procedures, to designate one or more Stalking Horse Bidders on or before November 1, 2023.

         In order for a Potential Bidder to be eligible to participate in the Auction as a Qualified
Bidder, it must comply with the Bid Procedures, and deliver its Bid, so as to be received on
or before November 14, 2023 at 5:00 p.m. (prevailing Eastern Time) (the “Bid Deadline”),
to: (a) investment banker to the Debtors: Intrepid Investment Bankers, LLC, Attn: Lorie Beers
(lbeers@intrepidib.com), Carl Comstock (ccomstock@intrepidib.com) and Ana Alvarenga
(aalvarenga@intrepidib.com); and (b) counsel to the Debtors: (i) Pachulski Stang Ziehl & Jones
LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier
19801), Attn: Steven W. Golden (sgolden@pszjlaw.com); and (ii) Pachulski Stang Ziehl & Jones
LLP, One Sansome Street, Suite 3430, San Francisco, CA 94104, Attn: Debra I. Grassgreen
(dgrassgreen@pszjlaw.com).

        To receive copies of the (i) Sale Motion, any exhibits to the Sale Motion, and/or a
confidentiality agreement to become a Potential Bidder (as defined below), or (ii) a copy of the
Form APA or Stalking Horse Agreement, as applicable, please submit a request by email to: (a)
counsel to the Debtors, Pachulski Stang Ziehl & Jones LLP, Attention: Steven Golden (email:
sgolden@pszjlaw.com); and (b) the Debtors’ investment banker, Intrepid, Attn: Ana Alvarenga
(aalvarenga@intrepidib.com). Additionally, the Sale Motion and the exhibits thereto are available
from the Debtors’ claims and noticing agent’s website at https://cases.stretto.com/amyris/.

        In order for Interested Parties to obtain access to the Debtors’ data room, each Interested
Party must first sign and deliver a confidentiality agreement to the Debtors and provide certain
financial data, which financial must be acceptable to the Debtors after consultation with the
Consultation Parties. Please refer to the Bid Procedures for further information concerning
submitting a Qualified Bid to participate at the Auction.

II.     Sale Hearing and Closing

        The Sale Hearing is scheduled for December 12, 2023 at 11:00 a.m. (prevailing Eastern
Time) at the United States Bankruptcy Court for the District of Delaware, United States
Courthouse, 824 Market Street North, 3rd Floor, Wilmington, DE 19801, before the Honorable
Thomas M. Horan, United States Bankruptcy Judge. The Sale Hearing is being held to approve
the highest or otherwise best offer(s) received for the Brand Assets at the Auction, which, if any,
will take place on November 28, 2023, commencing at 10:00 a.m. (prevailing Eastern Time),
at a location to be determined by the Debtors. Subject to the terms of the DIP Order, the Sale
Hearing may be adjourned or rescheduled with prior notice filed on the docket of these Chapter 11
Cases or without prior notice by an announcement of the adjourned date at the Sale Hearing.

    THE DEADLINE TO OBJECT TO THE DEBTORS’ REQUEST TO APPROVE
THE SALE(S) OF THE PURCHASED ASSETS FREE AND CLEAR OF ALL
ENCUMBRANCES TO THE SUCCESSFUL BIDDER(S) (EACH, A “SALE



                                                 2
DOCS_DE:243863.9 03703/003
               Case 23-11131-TMH         Doc 553-2      Filed 10/16/23     Page 4 of 5




OBJECTION”) IS DECEMBER 5, 2023 at 5:00 P.M. (PREVAILING EASTERN TIME)
(THE “SALE OBJECTION DEADLINE”).

        Any person or entity wishing to submit a Sale Objection must do so in writing and state
with particularity the grounds for such objections or other statements of position. All Sale
Objections shall be served so as to be actually received by no later than the Sale Objection Deadline
by the following (collectively, the “Notice Parties”):

    i.       counsel for the Debtors, (a) Pachulski Stang Ziehl & Jones LLP, 919 North Market
             Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801), Attn:
             James      E.   O’Neill     (joneill@pszjlaw.com)   and    Steven    W.    Golden
             (sgolden@pszjlaw.com); and (b) Pachulski Stang Ziehl & Jones LLP, One Sansome
             Street, Suite 3430, San Francisco, CA 94104, Attn: Debra I. Grassgreen
             (dgrassgreen@pszjlaw.com) and Maxim B. Litvak (mlitvak@pszjlaw.com);

    ii.      counsel to the DIP Lenders and the DIP Agent (collectively, the “DIP Secured Parties”)
             and the Foris Prepetition Secured Lenders (together with the DIP Secured Parties, the
             “Secured Parties”), (a) Goodwin Procter LLP, 620 Eighth Avenue, New York, NY
             10018, Attn: Michael H. Goldstein, Esq. (mgoldstein@goodwinlaw.com), Alexander
             J. Nicas, Esq. (anicas@goodwinlaw.com), and Debora Hoehne, Esq.
             (dhoehne@goodwinlaw.com); and (b) Troutman Pepper Hamilton Sanders LLP,
             Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE
             19899; Attn: David M. Fournier, Esq. (david.fournier@troutman.com)

    iii.     counsel to the Committee, White & Case LLP, 1221 Avenue of the Americas, New
             York, NY 10020-1095; Attn: Gregory Pesce, Esq. (gregory.pesce@whitecase.com),
             O’Neill,    Esq.   (aoneill@whitecase.com),      and    John    Ramirez,    Esq.
             (john.ramirez@whitecase.com); local counsel to the Committee, Potter Anderson &
             Corroon LLP, 1313 North Market Street, 6th Floor, Wilmington, DE 19801; Attn:
             Christopher M. Samis, Esq. (csamis@potteranderson.com), Katelin A. Morales, Esq.
             (kmorales@potteranderson.com), Sameen Rizvi, Esq. (srizvi@potteranderson.com);

    iv.      counsel for the Ad Hoc Noteholder Group, (a) Paul Hastings LLP, 1999 Avenue of the
             Stars, Twenty-Seventh Floor, Century City, CA 90067, Attn.: Frank Merola, Esq.
             (frankmerola@paulhastings.com); (b) Paul Hastings LLP, 200 Park Avenue, New
             York, NY 10166, Attn.: John F. Storz, Esq. (johnstorz@paulhastings.com); and (c)
             Blank Rome, 1201 N. Market Street, Suite 800, Wilmington, DE 19801, Attn.: Stanley
             B. Tarr, Esq. (stanley.tarr@blankrome.com); and

    v.       the Office of The United States Trustee, 844 King Street, Suite 2207, Lockbox 35,
             Wilmington, DE 19801, Attn: John Schanne (John.Schanne@usdoj.gov).

        The failure of any person or entity to file and serve a Sale Objection on or before the Sale
Objection Deadline, as applicable, (i) shall be deemed a consent to the Sale(s) to the Successful
Bidder(s) and the other relief requested in the Motion, and (ii) shall be a bar to the assertion of any
objection the sale(s) of the Brand Assets to the Successful Bidder(s) (including in any such case,



                                                  3
DOCS_DE:243863.9 03703/003
               Case 23-11131-TMH       Doc 553-2      Filed 10/16/23    Page 5 of 5




without limitation, the transfer of the Brand Assets free and clear of all Encumbrances, other than
the assumed liabilities).

III.    The Debtors’ Contracts and Leases

        The Sale Order, if approved, shall authorize the assumption and assignment or transfer of
the Transferred Contracts to the Successful Bidder(s). In accordance with the Bid Procedures
Order and the Order (A) Approving Procedures Related to the Assumption, Assumption and
Assignment, or Transfer of Executory Contracts and Unexpired Leases; and (B) Granting Related
Relief [Docket No. ●] (the “Contract and Lease Procedures Order”), notices setting forth the
specific Potential Assumed/Assigned Contracts that may be assumed by the Debtors and assigned
to the Successful Bidder(s), or sold and transferred to the Successful Bidder(s), and the proposed
Cure Amounts for such Potential Assumed/Assigned Contracts will be given to all Contract
Counterparties to the Potential Assumed/Assigned Contracts. Such counterparties will be given
the opportunity to object to the assumption, assumption and assignment, or sale and transfer, of a
Potential Assumed/Assigned Contract in connection with any restructuring transaction (including
a Sale) and the proposed Cure Amount.

       This notice is subject to the full terms and conditions of the Bid Procedures and the
Bid Procedures Order, which shall control in the event of any conflict. The Debtors
encourage all persons to review such documents and all other Sale-related documents in their
entirety and to consult an attorney if they have questions or want advice.

 Dated: [●], 2023                                PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ DRAFT
                                                 Richard M. Pachulski (admitted pro hac vice)
                                                 Debra I. Grassgreen (admitted pro hac vice)
                                                 James E. O’Neill (DE Bar No. 4042)
                                                 Jason H. Rosell (admitted pro hac vice)
                                                 Steven W. Golden (DE Bar No. 6807)
                                                 919 N. Market Street, 17th Floor
                                                 P.O. Box 8705
                                                 Wilmington, DE 19899-8705 (Courier 19801)
                                                 Telephone: (302) 652-4100
                                                 Facsimile: (302) 652-4400
                                                 rpachulski@pszjlaw.com
                                                 dgrassgreen@pszjlaw.com
                                                 joneill@pszjlaw.com
                                                 jrosell@pszjlaw.com
                                                 sgolden@pszjlaw.com

                                                 Counsel to the Debtors and Debtors in Possession




                                                4
DOCS_DE:243863.9 03703/003
